C——————————————————— | Page 1 of 1
anesOasent]:22-mj-00051-ZMF_ Document 5 _ Filed 03/10/22
AO 442 (Rev. 11/11) Ar i

UNITED STATES DISTRICT COURT
for the
District of Columbia

United States of America
v. ) Case: 1:22-mj-00051
ell ) To : Faruqui, Zia M.
Quentin G, Cantr ) Assigned
) Assign. Date : 3/7/2022
) Description: COMPLAINT W/ ARREST WAR
) j

ARREST WARRANT

 

Defendant

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested) Quentin G. Cantrell

who is accused of an offense or violation based on the following document filed with the court:

 

 

QO Indictment © Superseding Indictment O Information Superseding Information NM Complaint
© Probation Violation Petition C Supervised Release Violation Petition Violation Notice Order of the Court

This offense is briefly described as follows:

IS U.S.C. § 1752(a)1)- Entering and Remaining in a Restricted Building or Grounds
I8US.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds

40 U.S.C. § 5104(e)(2\(D)- Disorderly Conduct in a Capitol Building

40 U.S.C. § 5104(e2\G)- Parading, Demonstrating, or Picketing in a Capito] Building
Date; 03/08/2022

City and state: ——— Washington, D.C.

as Sin A Faruqui, U.S. Magistrate Judge
Printed name and title
Return
ived on (date) 3/%/a30-

This warrant was
“Pint te : » and the person was arrest 3 -¥)>
at (city and state nipls ny hs TP sted on (date) HG

ai M. Faru ui

i Bla a
I's 2022.03.08

“14:35:32 -05'00'

Issuing officer's Signature

        

 

 

 

    
    
   

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Arresting officer's Signature

Shes

    

TFo

 

 
